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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


 Sam Wolk,                                           Case No. 22-cv-1666 (WMW/DTS)

              Plaintiff,

       v.                                         NOTICE OF DISMISSAL WITH
                                                         PREJUDICE
 The City of Brooklyn Center, et al.,

       Defendants.


       Under Federal Rule of Civil Procedure 41(a)(1)(A)(i), and pursuant to the

Stipulation for Injunction and Order for Injunction filed in Samaha v. The City of

Minneapolis, No. 20-cv-01715 (D. Minn.), ECF Nos. 158, 159, 162, Plaintiff Sam Wolk

hereby dismisses this action against Defendants Minnesota Department of Public Safety,

Commissioner John Harrington, and Colonel Matthew Langer (the “State Patrol

Defendants”), and any claims against John Does which are alleged to be employees or

agents of the Minnesota State Patrol with prejudice and without costs or fees to any party.
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Dated: April 10, 2023                /s/Daniel J. Nordin
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